                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              ST. JOSEPH DIVISION

RURAL COMMUNITY WORKERS                         )
ALLIANCE and JANE DOE,                          )
                                                )
       Plaintiffs,                              )
                                                )
       v.                                       )          No. 5:20-CV-06063-DGK
                                                )
SMITHFIELD FOODS, INC. and                      )
SMITHFIELD FRESH MEATS CORP.,                   )
                                                )
       Defendants.                              )

ORDER GRANTING IN PART DEFENDANTS’ MOTION FOR EXTENSION OF TIME

       This lawsuit arises from Plaintiffs’ allegations that Defendants Smithfield Foods, Inc.,

and Smithfield Fresh Meats Corporation (collectively, “Smithfield”) have failed to adequately

protect workers at a Milan, Missouri, meat-processing plant (the “Milan Plant”) during the

coronavirus (“COVID-19”) pandemic. Plaintiffs claim, inter alia, that Smithfield does not

provide its workers adequate protective gear; does not allow employees breaks to cover their

mouths when they cough or sneeze; refuses to allow workers to clean and sanitize their hands;

and discourages its employees from taking days off even if they are exhibiting symptoms of

COVID-19. Now before the Court is Smithfield’s “Letter to the Court,” which the Court

construes as a motion for extension of time to respond to Plaintiffs’ request for a temporary

restraining order (“TRO”) and/or a preliminary injunction (Doc. 15).

       Smithfield requests this Court extend its deadline to respond to Plaintiffs’ motion until

May 4, 2020, because the United States Department of Labor Occupational Safety and Health

Administration (“OSHA”) has initiated an investigation into the Milan Plant. Smithfield must

respond to OSHA’s request for “comprehensive” information by Tuesday, April 28. Because of




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the OSHA investigation, Smithfield alleges that it intends to file a motion to dismiss and/or stay

this case pursuant to the primary-jurisdiction doctrine, and, if this Court grants that motion, no

ruling will be required on Plaintiffs’ motion for a TRO and/or preliminary injunction. Smithfield

also seeks this extension “to investigate Plaintiffs’ claims and prepare its response to Plaintiffs’

80+ page brief with exhibits.” Id.

       Plaintiffs’ responded to Smithfield’s request by asserting that the primary-jurisdiction is

inapplicable to their state tort-law claims. They also claim that the information provided to

OSHA will be substantially similar to the information necessary to respond to the TRO and/or

preliminary injunction motion, and, thus, any extension only serves to unnecessarily delay

Plaintiffs’ much-needed relief (Doc. 19).

       The United States is in the middle of a public health crisis; over 50,000 Americans have

died from COVID-19, with hundreds of thousands more suffering from the virus. Although

allowed to continue operating as essential businesses, slaughterhouses have become hot spots for

COVID-19 outbreaks. At least three of Smithfield’s plants have already been shut down as a

result of workers contracting the virus, and Plaintiff Jane Doe has represented to the Court that at

least eight workers at the Milan Plant have exhibited symptoms.

       Given the concerning and time-sensitive nature of Plaintiffs’ allegations, coupled with the

fact that Smithfield’s response to this Court will likely address the same information as its

response to OSHA, this Court finds that a week-long extension unnecessarily delays this action.

On the other hand, the Court recognizes that Smithfield may require more time to investigate and

respond to Plaintiffs’ serious allegations. Accordingly, the Court extends Smithfield’s deadline




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for filing a response to Plaintiffs’ motion for a TRO and/or preliminary injunction until 12:00

p.m. on April 29, 2020. 1 No further extensions will be granted.

        A hearing on Plaintiffs’ motion will be held the next day, April 30, via videoconference.

The Court will set the time of the hearing by future order. In the meantime, the Court orders that

Smithfield comply and “follow all OSHA requirements and all guidance from CDC and other

public authorities,” as it represented to this Court it is doing (Doc. 15). 2

        IT IS SO ORDERED.

Date:    April 26, 2020                                  /s/ Greg Kays______________________
                                                       GREG KAYS, JUDGE
                                                       UNITED STATES DISTRICT COURT




1
 This will also give Plaintiffs an opportunity to respond to Smithfield’s motion to dismiss and/or stay, which
Smithfield has indicated will be filed tomorrow, April 27.
2
  United States Department of Labor Occupational Safety and Health Administration, Guidance on Preparing
Workplaces on COVID-19, (last accessed Apr. 26, 2020), https://www.osha.gov/Publications/OSHA3990.pdf.;
Centers for Disease Control and Prevention, Interim Guidance for Businesses and Employers to Plan and Respond to
Coronavirus Disease 2019 (COVID-19), (last accessed Apr. 26, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/community/guidance-business-response.html; Centers for Disease Control and Prevention, Interim Guidance
for Implementing Safety Practices for Critical Infrastructure Workers Who May Have Had Exposure to a Person
with Suspected or Confirmed COVID-19 (last accessed Apr. 26, 2020), https://www.cdc.gov/coronavirus/2019-
ncov/community/critical-workers/implementing-safety-practices.html; Missouri Department of Health and Senior
Services, Stay at Home Order, (last accessed Apr. 26, 2020), https://governor.mo.gov/priorities/stay-home-order;
U.S. Department of Homeland Security, Cybersecurity & Infrastructure Security Agency, Guidance on the Essential
Critical       Infrastructure          Workforce         (last      accessed      Apr.          26,       2020),
https://www.cisa.gov/sites/default/files/publications/Version_3.0_CISA_Guidance_on_Essential_Critical_Infrastruc
ture_Workers_3.pdf.


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